              Case 22-00507-dd                           Doc 11      Filed 03/11/22 Entered 03/11/22 08:01:52                       Desc Main
                                                                     Document      Page 1 of 7
 Fill in this information to identify your case:
 Debtor 1               Henry Clarence Gunter                                                                          Check if this is a modified plan, and
                              First Name            Middle Name            Last Name                                   list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2            Deborah Tyler Gunter
 (Spouse, if filing) First Name      Middle Name            Last Name
 United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA                                            Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:                 22-00507
 (If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                          5/19

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                           confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                           applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no
                           objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                           3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                           interest from objecting to a claim.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                           Included                    Not Included
              through plan, set out in Section 3.1(c) and in Part 8

 Part 2:       Plan Payments and Length of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:


$1,119.00 per Month for 60 months

Insert additional lines if needed.

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

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    Debtor                Henry Clarence Gunter                                                      Case number
                          Deborah Tyler Gunter


   2.2          Regular payments to the trustee will be made from future income in the following manner:

                Check all that apply:
                         The debtor will make payments pursuant to a payroll deduction order.
                         The debtor will make payments directly to the trustee.
                         Other (specify method of payment):


   2.3 Income tax refunds.
       Check one.
                     The debtor will retain any income tax refunds received during the plan term.

                             The debtor will treat income refunds as follows:


   2.4 Additional payments.
       Check one.
                     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

    Part 3:      Treatment of Secured Claims

   To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
   and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
   claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
   treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
   automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
   secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
   automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
   application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
   provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
   filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
   property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
   and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

   3.1          Maintenance of payments and cure or waiver of default, if any.

                Check all that apply. Only relevant sections need to be reproduced.

                             None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

                             3.1(b) The debtor is in default and will maintain the current contractual installment payments on the secured claims listed below,
                             with any changes required by the applicable contract and noticed in conformity with any applicable rules. The arrearage
                             payments will be disbursed by the trustee, with interest, if any, at the rate stated. The trustee shall pay the arrearage as stated in
                             the creditor’s allowed claim or as otherwise ordered by the Court.

    Name of Creditor              Collateral                                               Estimated amount of        Interest rate on Monthly payment on
                                                                                           arrearage                  arrearage        arrearage
                                                                                                                      (if applicable)

                                                                                           Includes amounts                               (or more)
                                                                                           accrued through the


Insert additional claims as needed.


                             3.1(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                             accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                             between this document and the Operating Order, the terms of the Operating Order control.


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                          3.1(d) The debtor proposes to engage in loss mitigation efforts with         according to the applicable guidelines or procedures
                          of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if applicable.

                          Insert additional claims as needed
                          3.1(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in
                          Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.

                           Insert additional claims as needed

3.2          Request for valuation of security and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                     The claims listed below are being paid in full without valuation or lien avoidance.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor, as specified below. Unless there is a non-filing co-debtor who continues to owe an
                          obligation secured by the lien, any secured creditor paid the allowed secured claim provided for by this plan shall satisfy its liens
                          at the earliest of the time required by applicable state law, order of this Court, or upon completion of the payment of its allowed
                          secured claim in this case.

 Name of Creditor                    Collateral                            Estimated amount of claim Interest rate               Estimated monthly payment
                                                                                                                                 to creditor

 AARONS                              HOUSEHOLD GOODS-XBOX                                  $1,460.45                5.25%                                      $28.00
                                                                                                                                 (or more)

                                                                                                                                 Disbursed by:
                                                                                                                                    Trustee
                                                                                                                                    Debtor

Insert additional claims as needed.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

                          The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                          which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien or
                          security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                          order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured
                          claim in Part 5.1 to the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid
                          in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be
                          avoided, provide the information separately for each lien.

                           Choose the appropriate form for lien avoidance

 Name of               Estimated             Total of all    Applicable          Value of debtor's    Amount of lien not Amount of lien avoided
 creditor and          amount of             senior/unavoida Exemption and       interest in property avoided (to be paid
 description           lien                  ble liens       Code Section                             in 3.2 above)
 of property
 securing lien




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                       Deborah Tyler Gunter

 FRIENDL
 Y
 FINANCE                                                          1,500.00
                                                                S.C. Code
 HOUSEH                                                             Ann. §
 OLD                                                         15-41-30(A)(3
 GOODS                 $800.00                        $0.00               )                  $1,500.00                $0.00                          100%
 Name of               Estimated             Total of all    Applicable               Value of debtor's    Amount of lien not Amount of lien avoided
 creditor and          amount of             senior/unavoida Exemption and            interest in property avoided (to be paid
 description           lien                  ble liens       Code Section                                  in 3.2 above)
 of property
 securing lien
 WORLD
 FINANCE
 (6827)                                                           1,500.00
                                                                S.C. Code
 HOUSEH                                                             Ann. §
 OLD                                                         15-41-30(A)(3
 GOODS                 $321.80                     $800.00                )                  $1,500.00                $0.00                          100%
 Name of               Estimated             Total of all    Applicable               Value of debtor's    Amount of lien not Amount of lien avoided
 creditor and          amount of             senior/unavoida Exemption and            interest in property avoided (to be paid
 description           lien                  ble liens       Code Section                                  in 3.2 above)
 of property
 securing lien
 WORLD
 FINANCE
 (0004)                                                                   1,500.00
                                                                        S.C. Code
 HOUSEH                                                                     Ann. §
 OLD                                                                 15-41-30(A)(3
 GOODS                 $1,196.52                  $1,121.80                      )           $1,500.00               $0.00                                  100%

                           Use this for avoidance of liens on co-owned property only.

 Name of               Total equity          Debtor’s equity Applicable               Non-exempt equity Estimated lien       Amount of Amount of lien
 creditor and          (value of             (Total equity   Exemption and            (Debtor's equity                       lien not   avoided
 description           debtor's              multiplied by   Code Section             less exemption)                        avoided(to
 of property           property less         debtor’s                                                                        be paid in
 securing lien         senior/unavoi         proportional                                                                    3.2 above)
                       dable liens)          interest in
                                             property)
 -NONE-


Insert additional claims as needed.

 3.5         Surrender of collateral.

     Check one.
                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                          The debtor elects to surrender the collateral that secures the claim of the creditor listed below. The debtor requests that upon
                          confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
                          be terminated in all respects. A copy of this plan must be served on all co-debtors. Any creditor who has filed a timely proof of
                          claim may file an amended proof of claim itemizing the deficiency resulting from the disposition of the collateral within a
                          reasonable time after the surrender of the property. Any such amended claim, if allowed, will be treated in Part 5.1 below.

 Name of Creditor                                                                       Collateral
 AUTO MONEY                                                                             2003 FORD F150 TRUCK
 TITLE MAX                                                                              2002 DODGE CARAVAN



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Insert additional claims as needed.


 Part 4:      Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2          Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                           disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney’s fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $         and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $       or less.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.



             The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a
             pro rata basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.

             Check box below if there is a Domestic Support Obligation.


                          Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                           a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (state name of
                                        DSO recipient), at the rate of $       or more per month until the balance, without interest, is paid in full. Add
                                        additional creditors as needed.

                           b.           The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely
                                        basis directly to the creditor.

                           c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                        obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                        of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                        order or a statute.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.



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                          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

                The debtor estimates payments of less than 100% of claims.
                The debtor proposes payment of 100% of claims.
                The debtor proposes payment of 100% of claims plus interest at the rate of %.




5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor as stated below:
      Check the applicable box:

              Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

              Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
this form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

 3.1(c) - Mortgage payments, including pre-petition arrears, will be paid and cured by the Trustee as follows:

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   Name of Creditor                     Description of Collateral     Current            Monthly              Estimated amount   Monthly
                                                                      installment        payment to cure      of PRE-PETITION    payment on
                                        (note if principal            payment            GAP **               ARREARAGE**        pre-petition
                                        residence; include county     (ongoing           (post-petition       (including the     arrearage
                                        tax map number and            payment            mortgage             month of filing
                                        complete street address)      amount) *          payments for         or conversion)*
                                                                                         the two (2)
                                                                                         months
                                                                                         immediately
                                                                                         following the
                                                                                         event beginning
                                                                                         conduit)


   BANK OF AMERICA                       DEBTORS                      $690.74            $24.00               $11,000.00         $184.00
                                                                      Escrow for         Or more                                 Or more
                                        RESIDENCE-1408
                                                                      taxes:
                                        DUNBAR ROAD,                  X Yes
                                        CAYCE SC 29033,               ? No
                                        LEXINGTON                     Escrow for
                                        COUNTY, TMS#                  insurance:
                                        (005766-01-006)               X Yes
                                                                      ? No
                                                                      $                  $                    $                  $
                                                                      Escrow for         Or more                                 Or more
                                                                      taxes:
                                                                      ? Yes
                                                                      ? No
                                                                      Escrow for
                                                                      insurance:
                                                                      ? Yes
                                                                      ? No
  * Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed under FRBP 3002(c) control over any
 contrary amounts above, and any Notice of Payment Change that might be filed to amend the ongoing monthly payment amount.
  ** The Gap will be calculated from the payment amounts reflected in the Official Form 410A Mortgage Proof of Claim Attachment and any Notice of
 Payment Change that might be filed to amend the monthly payment amount, but should not be included in the prepetition arrears amount.
 All payments due to the Mortgage Creditor as described in any allowed Notice of Post-petition Mortgage Fees, Expenses, and Charges
 under F.R.B.P. 3002.1, filed with the Court, will be paid by the Trustee, on a pro rata basis as funds are available. See the Operating Order of
 the Judge assigned to this case.
 Once the trustee has filed a Notice of Final Cure under F.R.B.P. 3002.1(f), the debtor shall be directly responsible for ongoing mortgage payments and
 any further post-petition fees and charges.

 Part 9:      Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor, if any, must sign below.

 X     /s/ Henry Clarence Gunter                                                     X      /s/ Deborah Tyler Gunter
       Henry Clarence Gunter                                                                Deborah Tyler Gunter
       Signature of Debtor 1                                                                Signature of Debtor 2

       Executed on            March 11, 2022                                                Executed on      March 11, 2022

 X     /s/ JASON T. MOSS                                                             Date     March 11, 2022
       JASON T. MOSS 7240
       Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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